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       Bechl Engineering Co., lnc., 22 Church Slreet, P.O. Box 300, tiberty Corner, New Jersey 07t38
                TollFreeS00-772-7991 Tel.908-580-ltl9 Fox.908-580-9260 www.bechl.com

July 12,2018

Mr. Gary Riggins
JACOBS ENGINEERING GROUP lNC. - Baton Rouge
P.O. Box 98033
Baton Rouge, LA 70898

Reference:       LB Refinery Restart Project
                 Limetree Bay Terminals LLC,
                 St. Croix 00820, USVI
                 Becht Proposal 26079 Rev 1

Revised to increase the scope from the original 178 acres to the entire plant at 1,137 acres.


Mr. Riggins:

The purpose of this letter is to summarize my understanding of your scope of work based on
the information provided and to provide a lump sum cost for providing UAV Drone services.

Project Scope

   a     The project is located at Limetree Bay Terminal in St. Croix, USVI.
   o     Becht will produce 100 MP Aerial UAV photographs, Orthomosiac photographs
   o     The scope of work for High Resolution Photographs, and unit labeling of the areas
         shown on Figure 1 below.
   o     Becht will install permanent ground control in selected areas throughout the entire
         facility and will survey them to the overall plant monument system. This will give a
         georeferenced location for all of the images and will allow for proper alignment of any
         future progress measurement flights.
   a     High resolution Photographs are to be used to produce an Ortho Aerial Mosaic of the
         facility. The Ortho Aerial Mosaic will need to have labeling for Unit Number and Name
         that will be used by the facility. Jacobs and LB Terminals will provide guidance on the
         labeling required.
   a     After area Drone path boundaries have been established for execution in the areas
         shown on 58FFCZ30-301-Drone-SKl a Fly Over Video will need to be produced. The
         extent of this video is to show an overall view of entire plant.
   a     Becht will be allowed to bring multiple vehicles into the plant. The vehicles will have
         magnetic signs on each side.
   a     Becht will comply with the site UAV procedures and produce flight plans for review
         prior to any flights.
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Mr. Gary Riggins                    2                           July 15,2018


   Fig   1.
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Mr. Gary Riggins                              3                                  July 12,2018


Commercial lnformation and Proiect Deliverables

Becht will provide the following deliverables associated with the Project Scope on a lump
sum basis. Note that this proposal expires 10-12-18. Refer to the General Notes for more
information.


                                                                                       Estimated
   Deliverable                  Description                Unit Rate       Quantity   lnvestment
                     The estimated costs associated
Mobilization/        with mobilization and
                                                            lncluded                                0
Demobilization       demobilization and all other
                                                travel.
Safety   Training    Site Specific Training                 lncluded                                0


High Resolution                                            Lump Sum
                     High resolution photographs and         pricing
Photographs                                                                             $220,054
                     fly over videos.
                                                           $220,054


USVI Taxes           Taxes                                    4Yo                          $8,802

                                                          Total Project   lnvestment    $228,856

Estimated Proiect Schedule

   The estimated schedule for the project is below. Note that the estimated project schedule
   is dependent upon Becht receiving a signed contract or purchase order on or before the
   award. Becht will coordinate with Jacobs to best support the project schedule
   requirements if the dates below can't be met.


                 Activity                                          Date
   Award Date                                                      TBD
   Site Specific Traininq                                           N/A
   Field Work Beqin                                                TBD
   Field work duration                 (Estimated, depending on site conditions and weather)
                                       8 days with multiple crews after start of field execution.
   Delivery of data to Jacobs                Becht will start delivering areas 1 week after
                                                     completion of field activities
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Mr. Gary Riggins                            4                                July 12,2018


General Notes
  The following general notes provide additional information and clarifications          for   the
  proposal:

     1.   Gommercial
          a. All pricing is quoted in US dollars and shall be paid in US dollars.
          b. All pricing is quoted net of (i.e. does not include) any sales, value-added taxes or
             withholding taxes that may othenrvise be due on the provided services and
               products.
          c. All pricing  is quoted based on mobilizing one (1) field crew. A crew consist of a
               registered pilot, an assistant and a surveyor.
          d.   Scope differences, scope changes and/or additional work will impact the project
               investment and estimated schedule.
          e.   Downtime resulting from facility access or unforeseen and uncontrollable events
               beyond Becht's control will be charged in t hour increments at the rate of $550.00
               per hour.


     2.   Field Work
          a. Jacobs shall provide contact information for a project                representative
               knowledgeable of the scope of work that will be available for logistics, each scan
               location and any other coordination required for the duration of the project.
          b.   Jacobs shall obtain the required permissions or permits to gain access to the
               facility.
          c.   The estimated schedule may vary due to issues such as weather, facility access or
               unforeseen and uncontrollable events beyond Becht's control or due to additional
               services requested.
          d.   Becht will request access to the site for weekend access in order to meet
               schedule.
          e.   Becht will work 10 hour days.

Becht looks foruvard to working with Jacobs

Mike Swymn
Operations Manager
Becht Scanning


141i.},"-l
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E-mail:           MSWYMN@BECHT.com
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                                                                                                    ENGINEERING

    Becht Engineering Co., lnc., 22 Church Street, P.O. Box 300, tiberty Corner, New Jersey 07t38
             TollFree 8N-772-7?91 lel.908-580-1119 Fox.908-580-9260 www.bechl.com


July 3, 2018

Mr. Gary Riggins
JACOBS ENGINEERING GROUP lNC. - Baton Rouge
P.O. Box 98033
Baton Rouge, LA 70898

Reference:     LB Refinery Restart Project
               Limetree Bay Terminals LLC,
               St. Croix 00820, USVI
               Becht Proposal 26079 Rev 0


Mr. Riggins:

The purpose of this letter is to summarize my understanding of your scope of work based on
the information provided and to provide a lump sum cost for providing UAV Drone services.

Project Scope

   a   The project is located at Limetree Bay Terminal in St. Croix, USVI.
   o   Becht will produce 100 MP Aerial UAV photographs, Orthomosiac photographs
   a   The scope of work for High Resolution Photographs, and unit labeling of the areas
       shown on 58FFCZ3O-301-DRONE-SK1. See Figure 1 below.
   a   Becht will install temporary ground control and will survey them to the overall plant
       monument system in order to give a georeferenced location for all of the images.
   o   High resolution Photographs are to be used to produce an Ortho Aerial Mosaic of the
       facility. The Ortho Aerial Mosaic will need to have labeling for Unit Number and Name
       that will be used by the facility for the LB Restart Project. Jacobs and LB Terminals
       will provide guidance on the labeling required.
   a   After area Drone path boundaries have been established for execution in the areas
       shown on 58FFCZ30-301-Drone-SK1 a Fly Over Video will need to be produced. The
       extent of this video is to show an overall view of the area for the LB restart Project
       Scope of Work Area.
   a   Becht will be allowed to bring multiple vehicles into the plant. The vehicles will have
       magnetic signs on each side.
   a   Becht will comply with the site UAV procedures and produce flight plans for review
       prior to any flights.
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Mr. Gary Riggins                    2                            July 3, 2018


   Fig   1




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Mr. Gary Riggins                              3                                 July 3,2018


Commercial lnformation and Proiect Deliverables

Becht will provide the following deliverables associated with the Project Scope on a lump
sum basis. Note that this proposal expires 10-3-18. Refer to the General Notes for more
information.


                                                                                     Estimated
   Deliverable                  Description              Unit Rate       Quantity   lnvestment
                     The estimated costs associated
Mobilizationi        with mobilization and                                                       0
                                                          lncluded
Demobilization       demobilization and all other
                     expenses. le. Lodging and travel
Safety   Training    Site Specific Training               lncluded                               0


High Resolution                                          Lump Sum
                     High resolution photographs and       pricing
Photographs                                                                 I          $34,450
                     fly over videos.
                                                          $34,450


USVI Taxes           Taxes                                  4%                          $1,378

                                                        Total Project   lnvestment     $35,828

Estimated Proiect Schedule

   The estimated schedule for the project is below. Note that the estimated project schedule
   is dependent upon Becht receiving a signed contract or purchase order on or before the
   award. Becht will coordinate with Jacobs to best support the project schedule
   requirements if the dates below can't be met.


                 Activity                                           Date
   Award Date                                                       TBD
   Site Specific Traininq                                            N/A
   Field Work Besin                                        TBD (1 field crews)
   Field work duration                  (Estimated, depending on site conditions and weather)
                                                  4 days after start of field execution.
   Delivery of data to Jacobs                 Becht will start delivering areas 1 week after
                                                      completion of field activities
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Mr. Gary Riggins                             4                                   July 3,2018


General Notes
  The following general notes provide additional information and clarifications             for the
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     1.   Gommercial
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               knowledgeable of the scope of work that will be available for logistics, each scan
               location and any other coordination required for the duration of the project.
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          c.   The estimated schedule may vary due to issues such as weather, facility access or
               unforeseen and uncontrollable events beyond Becht's control or due to additional
               services requested.
          d.   Becht will request access to the site for weekend access in order to meet
               schedule.
          e.   Becht will work 10 hour days.

Becht looks forward to working with Jacobs

Mike Swymn
Operations Manager
Becht Scanning


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